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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 COLLEEN T. PULEO
                                                               RULE 7.1 CORPORATE
                               Plaintiff,                      DISCLOSURE
                                                               STATEMENT
                       v.
                                                               Civil Action No. 6:20-cv-
 MASONIC MEDICAL RESEARCH INSTITUTE; JOHN S.                   1593 (TJM/ATB)
 ZIELINSKI; MARIA I. KONTARIDIS.,

                               Defendants.



        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned

counsel for defendant Masonic Medical Research Institute (“MMRI”) discloses that

MMRI does not have a parent corporation and no publicly traded company owns 10% or

more of its stock.


Dated: March 17, 2021                           BOND, SCHOENECK & KING, PLLC


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